Case 2:12-md-02323-AB Document 7313-7 Filed 03/21/17 Page 1 of 2

EXHIBIT 6
Case 2:12-md-02323-AB Document 7313-7 Filed 03/21/17 Page 2 of 2

Tina Olson

From: dixonldixon4@aol.com

Sent: Friday, August 30, 2013 3:48 PM
To: Tina Olson

Subject: Re: NFL Head Injury Litigation
Tina,

Can you or someone in the law office provide any more specifics on the proposed settlement.

For example it would be helpful to see the grid system and how they are determing the payouts.

Are the payouts, for those who can demonstrate neurological damages, distributed in one lump sum or is it distributed
over time? Finally, is the medical assistance similary to what the NEL is doing with the Plan 88?

Thanks,

Lorraine Dixon

-----Original Message-----

From: Tina Olson <Tina.Olson@zimmreed.com>
To: Tina Olson <Tina.Olson@zimmreed.com>

Sent: Thu, Aug 29, 2013 12:12 pm

Subject: NFL Head Injury Litigation

Dear NFL Player:

Attached please find a letter regarding today's announcement of the NFL Head Injury Settlement.
Thank you.

TINA M. OLSON | PARALEGAL

ZIMMERMAN REED, PLLP
1100 IDS Center, 80 South 8th Street

at

Minneapolis, MN 55402 T 612.341.0400

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